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 9
10                       IN THE UNITED STATES DISTRICT COURT
11                             FOR THE DISTRICT OF ARIZONA
12
     United States of America,                       No. CR-19-00898-PHX-DLR (DMF)
13
                          Plaintiff,
14          v.                                              UNITED STATES’
                                                       SUPPLEMENTAL PETITION TO
15                                                        REVOKE DEFENDANT
     David Allen Harbour,                                 HARBOUR’S RELEASE
16                                                           PENDING TRIAL
                          Defendant.
17
                                                          (Exhibit A Filed Under Seal)
18
19      Comes now the United States, by and through undersigned counsel, and hereby
20   supplements the United States’ Petition to Revoke (Doc. 267) release by alleging the
21   following violations of his pretrial release as supported by the Declaration of FBI Special
22   Agent Troy Cofer, attached as Exhibit A:
23
24      1. Defendant shall not commit any federal, state or local crime. (Doc. 17)
25      There is probable cause that Harbour violated this term by engaging in witness
26   tampering in violation Title 18 U.S.C. § 1512(b)(1). In sum, Harbour directed Kenneth
27   Bobrow to contact victims in an effort to alter their testimony in exchange for payment of
28   funds from a third party. (Ex. A; ¶s 10-25)
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 1         2. Avoid all direct or indirect contact with persons who are considered alleged
 2            victim(s), potential witness(es), family members of victim(s)/witness(es), P.B.,
 3            M.B., R.T., J.C. and R.G. (Doc. 17)
 4         There is clear and convincing evidence that Defendant Harbour directed Kenneth
 5   Bobrow to contact M.B. and R.T. between June 2020 and December 13, 2021. (Ex. A; ¶s
 6   10-25)
 7         3. Defendant shall not solicit investors for any investment while on pretrial release.
 8            (Doc. 17)
 9         There is clear and convincing evidence that Harbour solicited Kenneth Bobrow to
10   invest $141,000 into the purchase of XXXX Georgia for the benefit of Harbour. (Ex. A; ¶
11   30)
12         4. The defendant shall not make any financial transactions totaling over $1000.00 in
13            any month to any person or entity without prior approval of Pretrial Services. Prior
14            approval of Pretrial Services is not required for defendant’s pre-established rents for
15            residential purposes, attorney’s fee, recurring payments, and his children’s school
16            tuition and activities. (Doc. 89)
17         There is clear and convincing evidence that Harbour borrowed approximately
18   $1,950,000 without seeking prior approval from Pretrial Services. (Ex. A; ¶s 26-39)
19                                           CONCLUSION
20            Based on the forgoing, the United States moves the Court to        conduct a hearing
21   pursuant to 18 U.S.C. § 3148(b), and to revoke its current Order authorizing Harbour’s
22   release.
23            Dated this 21st day of December, 2021.
24                                                GARY M. RESTAINO
                                                  United States Attorney
25                                                District of Arizona
26
                                                  s/ Kevin Rapp
27                                                KEVIN M. RAPP
                                                  COLEEN SCHOCH
28                                                Assistant U.S. Attorneys


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 1
 2                                 CERTIFICATE OF SERVICE
 3          I hereby certify that on this 21st day of December, 2021, I electronically transmitted
 4   the attached document to the Clerk’s Office using the CM/ECF System for filing and
 5   provided a courtesy electronic copy to all registered CM/ECF participants.
 6
     s/ Marjorie Dieckman
 7   U.S. Attorney’s Office
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